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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS

BAISTAR MECHANICAL, INC.,                    )
                                             )
                Plaintiffs,                  )
                                             )
       v.                                    )       No. 15-1473C
                                             )       (Judge C. Lettow)
THE UNITED STATES,                           )
                                             )
                Defendant.                   )

                        JOINT STATUS REPORT FOLLOWING
                 THE COURT’S SEPTEMER 28, 2016 OPINION AND ORDER

       Using Appendix A, Case Management Procedure, of the Rules of the United States Court

of Federal Claims (RCFC), plaintiff, Baistar Mechanical, Inc. (Baistar), and defendant, the

United States, respectfully submit the following Joint Status Report updating certain topics

addressed in the parties Joint Preliminary Status Report (JPSR, May 26, 2016, ECF No. 8) based

upon the Court’s September 28, 2016 Opinion and Order granting in part the Government’s

motion for summary judgment. The parties have identified those topics that are unchanged with

the parenthetical “no change from JPSR,” all other topics have been changed.

   A. Jurisdiction (no change from JPSR): Baistar contends that this Court has jurisdiction over

       this matter pursuant to the Contracts Disputes Act of 1978, 41 U.S.C. § 7101, et seq. The

       Government does not intend to challenge jurisdiction at this time.

   B. Consolidation (no change from JPSR): There is no other case with which this case should

       be consolidated.

   C. Bifurcation (no change from JPSR): There is no reason to bifurcate trial of liability and

       damages.

   D. Deference (no change from JPSR): There is presently no reason to defer further

       proceedings in this case pending consideration of another case.
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   E. Remand (no change from JPSR): Neither party intends to seek remand or suspension.

   F. Joinder (no change from JPSR): Neither party is presently aware of any parties it intends

       to join.

   G. Motions: The parties do not anticipate further motions practice in advance of

       commencing discovery.

   H. Relevant Factual and Legal Issues:

       Joint Background (no change from JPSR):

       This matter concerns a contract for grounds maintenance and snow removal that was

solicited and administered by the by the Bureau of the Fiscal Services (BFS) on behalf of the

Armed Forces Retirement Home (AFRH), located in Washington, D.C. Baistar, an engineering,

construction, HVAC, and support services firm, was awarded the contract in late 2011. Prior to

the ground services contract, Baistar had provided services to AFRH pursuant to other contracts

from about 2008. Beginning in May of 2015, Baistar began submitting claims and requests for

equitable adjustment to the contracting officer. On June 18, 2015, the contracting officer issued

a Cure Notice to Baistar, citing various alleged performance issues. On July 10, 2015, the

contract was terminated for default. After Baistar’s submitted claims were denied it filed suit.

       Plaintiff’s Supplemental Statement of Factual and Legal Issues:

       1. Whether the Government properly denied Plaintiff’s claim for uncompensated snow

           treatment and removal services, as detailed in Count V, and if not, are the Plaintiff’s

           claimed damages supported by the evidence?

       2. Whether the Government properly denied Plaintiff’s claim for uncompensated daily

           mobilization costs, as detailed in Count VI, and if not, are the Plaintiff’s claimed

           damages supported by the evidence?



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3. Whether the Government properly terminated the Contract, in that:

       a. Baistar maintains that the Government only gave vague reasons for the cure

          notice, and did not provide any clarification; therefore, Plaintiff takes the

          position that there was no legitimate cure notice, the cure notice was

          defective, and or no cure period.

       b. Baistar further alleges that a “Stop Work Order” was improperly issued and

          interfered with its contractual performance, therefore further undermining or

          eliminating any cure opportunity.

       c. Baistar further alleges that the Contracting Officer who issued the cure notice

          and the Termination did not have authority and did not exercise any

          independent judgment in his decision, as he did and could not have had any

          personal knowledge of the condition of the grounds at the AFRH, being

          stationed in another state.

       d. Baistar further alleges that the grounds identified in the cure notice and

          Termination Notice were pretextual, not sufficient to amount to a default, and

          otherwise were not factually or legally justified.

   If the Government did not properly terminate the Contract, what are the proper

   termination for convenience damages?

Defendant’s Supplemental Counter-Statement of Factual and Legal Issues:

1. Count V, Snow Treatment and Removal:

       a. Allegedly Out-Of-Scope Snow Removal:

               i. Whether plaintiff ever provided notice to the contracting officer of

                  allegedly out-of-scope work.



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          ii. If notice was provided, whether the work provided was out-of-scope.

          iii. If the work was out-of-scope work, the value of the out-of-scope

                work.

          iv. Whether any work was provided pursuant to any contractual

                emergency exception.

           v. If work was provided pursuant to any contractual emergency

                exception, whether the work provided was out-of-scope, and if so, the

                value of the out-of-scope work.

    b. Allegedly Unpaid For Salt:

           i. Whether any allegedly unpaid-for salt was not the result of Baistar’s

                submission of revised invoices.

          ii.   Whether Baistar ever “immediately notif[ied] the contracting officer

                no later than the beginning of the next Government work day[]” that it

                felt the revised invoices were the result of technical direction of the

                COTR that contravened the contract.

    c. Allegedly Unpaid For Snow Removal CLINs:

           i. Whether allegedly unpaid-for snow removal CLINS were not the

                result of Baistar’s submission of revised invoices.

          ii. Whether Baistar ever “immediately notif[ied] the contracting officer

                no later than the beginning of the next Government work day[]” that it

                felt the revised invoices were the result of technical direction of the

                COTR that contravened the contract.




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2. Count VI, Daily Mobilization: Whether the contract entitled Baistar to store its

   equipment on AFRH’s grounds, and if so, Baistar’s damages, if any, after Baistar was

   not permitted to store its equipment on AFRH’s grounds.

3. Count VII, Termination for Default: Whether the contract was properly terminated

   for default.

       a. Whether termination provisions under FAR § 52.212-4(m) apply based upon

           the contract, or provisions under FAR Part 49 apply based upon a reference to

           FAR Part 49 in BFS’s cure notice and Baistar’s alleged reliance upon such

           reference, and if FAR Part 49 applies, which subsection applies.

       b. Whether the Government’s Cure Notice complied with the applicable FAR

           provisions, and if the Cure Notice did comply, whether Baistar did remedy or

           cure all deficiencies identified or timely provided a plan of action to cure such

           deficiencies, and, if the Cure Notice did not comply, whether such non-

           compliance prevented Baistar from remedying or curing all deficiencies

           identified or timely providing a plan of action to cure such deficiencies.

       c. Whether contract Paragraph 31, Government Supervision of Contract

           Personnel, permitted the Government to issue a stop-work order.

       d. Whether the applicable FAR termination provision was FAR § 12.403,

           Termination, that only requires that “[t]he contracting officer shall send a cure

           notice prior to terminating a contract for a reason other than late delivery[,]”

           (FAR § 12.403(a)(1)), whether the Government complied with the applicable

           FAR provision, and whether the contracting officer can be held to lack

           authority or independent judgment to issue a Cure Notice or Termination



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                   based solely upon a duty location that is not co-located with the performance

                   of the procured services.

               e. Whether the bases for the Cure Notice and Termination as alleged by AFRH

                   and BFS can be held insufficient, and whether such bases can be found to be

                   either pretextual or incorrect.

   I. Likelihood of Settlement and ADR:

       Plaintiff’s Response (no change from JPSR):

       Plaintiff is willing to engage in mediation in this matter.

       Defendant’s Response:

       Defendant may be willing to engage in mediation of this matter following discovery.

   J. Trial: If any dispositive motions following discovery do not resolve this matter, the

       parties anticipate proceeding to trial pursuant to a non-expedited schedule. The parties

       request trial in Washington, DC because all personnel (with the exception of BFS

       contract administration personnel) are located in or around the District of Columbia.

   K. ECM (no change from JPSR): There are no special issues regarding electronic case

       management.

   L. Additional information (no change from JPSR): None.

   M. Discovery: 1

            a. Exchange of initial disclosures: February 9, 2017

            b. Completion of written fact discovery: June 15, 2017

            c. Completion of fact depositions: September 7, 2017



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         The start of substantive discovery is being delayed until early 2017 based upon a family
issue involving plaintiff’s counsel that requires lengthy travel outside the United States from
which plaintiff’s counsel will not return until mid-January, 2017.

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          d. Plaintiff designates expert(s) and serves report(s): November 16, 2017 (subject to

             Baistar’s determination that expert testimony is necessary, if Baistar determines

             expert testimony is unnecessary, the parties shall file a Joint Status Report by

             October 12, 2017)

          e. Defendant designates expert(s) and serves response report(s): December 21, 2017

          f. Experts available for deposition: January 2, 2018 – February 8, 2018

          g. Joint Status Report: March 8, 2018



                                            Respectfully submitted,

                                            BENJAMIN C. MIZER
                                            Principal Deputy Assistant Attorney General

                                            ROBERT E. KIRSCHMAN, JR.
                                            Director

                                            s/Scott D. Austin
                                            SCOTT D. AUSTIN
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November 16, 2016                           Attorneys for Defendant




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